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                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


ESTATE OF JORDAN BAKER, by and               )
through administrator, JANET BAKER,          )        No. 4:15-cv-3495
                                             )
               Plaintiff,                    )
                                             )
               v.                            )        Hon. Judge Sim Lake
                                             )
JUVENTINO CASTRO, THE CITY OF                )
HOUSTON, RPI MANAGEMENT                      )
COMPANY, LLC, and RPI INTERESTS              )
I, LTD,                                      )        JURY TRIAL DEMANDED
                                             )
               Defendants.                   )

            PLAINTIFF’S RULE 72 OBJECTIONS TO MAGISTRATE
               JUDGE’S REPORT AND RECOMMENDATIONS
                  CONCERNING SUMMARY JUDGMENT

       Plaintiff, the Estate of Jordan Baker, by his attorneys, respectfully submits

the following objections to the Magistrate Judge’s Memorandum and

Recommendations concerning summary judgment (Dkt. 177). In support thereof,

Plaintiff states:

       Plaintiff’s objections to the Magistrate Judge’s well-reasoned report and

recommendations concerning summary judgment are limited. A District Court

Judge may modify or set aside any part of an order that is clearly erroneous and “if

the magistrate judge errs in her legal conclusions.” Tolan v. Cotton, 2015 WL

5332171, at * (S.D. Tex. Sept. 14, 2015).
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      Here, Plaintiff does not object to the Courts’ ruling concerning the failure to

train theory of liability under Monell v. New York City Dept. of Social Services, 436

U.S. 658 (1978). However, Plaintiff does object to four things:

      First, the Report recommends that Officer Castro be granted qualified

immunity on Plaintiff’s race-discrimination claim. But there is no dispute that

Baker’s race was part of the reason that Castro stopped Baker. As explained in

Plaintiff’s response in opposition to Castro’s motion, using someone’s race to target

someone for police action does violate the Equal Protection clause, and such a

violation was clearly established long before Castro stopped Mr. Baker. United

States v. Brown, 561 F.3d 420, 433 (5th Cir. 2009) Taylor v. Johnson, 257 F.3d 470,

473 (5th Cir. 2001).

      Second, as a corollary, Plaintiff objects to the dismissal of his Monell claims

related to Houston’s statistically significant racial disparities in police stops. There

being a cognizable claim that a reasonable jury could conclude that Castro violated

the Equal Protection Clause on this record, the same was true of the City of

Houston.

      Third, in finding that the initial, investigatory stop of Baker was lawful,

(Dkt. 177 at 27-30), the magistrate judge did not construe the facts in the light most

favorable to Plaintiff, and, instead, took inferences against Plaintiff, contrary to the

applicable standard.

      Plaintiff incorporates her briefing on these issues. See Dkt. 147, 152.




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      Finally, Plaintiff objects to some of the characterizations of fact, which which

depart in some ways from crediting Plaintiff’s version of events as set out in the

brief, relating to the initial stop of Baker by Castro and the relevance and number

of other alleged armed robberies in the area. Plaintiff believes that the number of

armed robberies was inflated, and that their relevance is immaterial to Plaintiff’s

equal protection claims. These objections concern, at core, what the evidence will be

at trial. To the extent such objections must be lodged now, Plaintiff makes them to

preserve her record. Again, Plaintiff’s prior briefing is incorporated by reference. See

Dkt. 147 at 6-22.


                                                RESPECTFULLY SUBMITTED,


                                                /s/ David B. Owens
                                                One of Plaintiffs’ Attorneys


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                          CERTIFICATE OF SERVICE

      I, David B. Owens, an attorney, hereby certify that September 14, 2018, I

filed the foregoing Objections to the Magistrate Judge’s Report and

Recommendations Concerning Summary Judgment (Dkt. 177) using the Court’s

CM/ECF system, which effected service on all counsel.



                                             /s/ David B. Owens
                                             One of Plaintiff’s Attorneys




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